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wEsTERN DIsTRIcT 0F TENNESSEE 55 n gm _ 9 AM 8. 3?
Western Division ' ‘ ..

 

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UNITED sTATES oF AMERICA ~ it .'»,\:E.-"!.\iFHIS
-vs- Case No. 05cr20174-Ma

PATRICK ALEXANDER

 

ORDER OF TEMPORARY DETENTION
PENDING I-IEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
THURSDAY, AUGUST 1 l, 2005 at 3 :00 P.M. before United States Magistrate Judge S. Thomas
Aoderson, in Courtroom M-3, 9"‘ floor, United States Courthouse and Federal Building, 167 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United

States Marshal and produced for the hearing.

Date: August 8, 2005

i_)L/’
‘TU M. PHAM

UNITED STATES MAGISTRATE JUDGE

 

‘If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(0 are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
inj ure, or intimidate a prospective witness or juror.

AO 470 (81'85) Order of Ternpomry Detention

’t`his doctment entered on the docket s et tn compttance
with R.tle 55 and!or 321131 FRCrP on im ’

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20174 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

